         Case
          Case2:16-cr-00030-JAD-CWH
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                         UNITED STATES DISTRICT COURT
 6
                              DISTRICT OF NEVADA
 7                                                   -oOo-

 8   UNITED STATES OF AMERICA,                         )
                                                       )   Case No.: 2:16-cr-0030-JAD-CWH
                      Plaintiff,                       )
 9                                                     )   STIPULATION TO CONTINUE
                                                       )   SENTENCING
10          vs.                                        )   (Second Request)
                                                       )
11   JUAN ALMEDA-VAZQUEZ,                              )
                                                       )
12                    Defendant.                       )
                                                       )
13

14
                  IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,
15
     United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the United
16
     States of America and Kathleen Bliss, Esq., counsel for defendant, that sentencing in the above-
17
     captioned matter currently scheduled to commence on Monday, January 23, 2017, at 11:00 a.m.
18
     be vacated and continued to a date and time convenient to all parties, but no earlier than 60 days.
19
                  This Stipulation is entered into for the following reason:
20
                  1. The government needs additional time to determine whether there will be a
21
     recommendation for a two-level reduction in the defendant’s base offense level for a group plea
22
     pursuant to United States v. Caro, 997 F.2d 657 (9th Cir. 1993).
23

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     Case
      Case2:16-cr-00030-JAD-CWH
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 1        2. The parties agree to the continuance.

 2        3. The defendant is in custody and does not object to the continuance.
 3
          4. This is the second request to continue the sentencing.
 4
          DATED this 18th day of January, 2017.
 5
                                           Respectfully submitted,
 6
                                           DANIEL G. BOGDEN
 7                                         United States Attorney

 8
                                           /s/ Susan Cushman
 9                                         _________________________
                                           SUSAN CUSHMAN
10                                         Assistant United States Attorney

11
                                           /s/ Kathleen Bliss
12                                         _________________________
                                           KATHLEEN BLISS
13                                         Counsel for Defendant

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        Case
         Case2:16-cr-00030-JAD-CWH
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 2                     UNITED STATES DISTRICT COURT
 3                          DISTRICT OF NEVADA
                                                  -oOo-
 4
     UNITED STATES OF AMERICA,                       )
 5                                                   ) Case No.: 2:16-cr-0030-JAD-CWH
                    Plaintiff,                       )
                                                     ) ORDER TO CONTINUE
 6                                                   ) SENTENCING
            vs.                                      )
 7                                                   )
     JUAN ALMEDA-VAZQUEZ,                            )
 8                                                   )
                    Defendant.                       )
 9                                                   )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued until

12   ______________________________   at the
     March 27, 2017 at the hour of 10:00     hour of __________ .m.
                                          a.m.

13          DATEDthis
           DATED  this18th
                      ____day
                           day of
                               of January,
                                  January, 2017.
                                            2017.

14

15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
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